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                          UNITED STATES BANKRUPTCY COURT DISTRICT
                                      OF NORTH DAKOTA

In re: Joseph Bourne and                                                 Case No. 23-30259
       Kasey Bourne
Address: 12249 26F Street NW                                             Chapter 13
          Watford City, ND 58854
Last four digits of Social Security or Individual
Taxpayer-identification: 1600 / 4869
Employer Tax ID if any:


                               ORDER CONFIRMING CHAPTER 13 PLAN

       Debtors filed their Chapter 13 Plan on August 7, 2023, and amended it on
  November 16, 2023. Debtors served the plan on creditors and the Bankruptcy Trustee pursuant
to Bankruptcy Rule 3015. The Court finds that the Amended Chapter 13 Plan meets the
requirements of 11 U.S.C. § 1325.

IT IS ORDERED THAT:

        The Amended Chapter 13 Plan [Doc. 22] is confirmed. Plan payments shall be sent to:

                        Kyle L. Carlson  Standing Trustee
                        2900 Momentum Place Chicago IL
                        60689-5329


        Dated: December 8, 2023.




                                                        Shon Hastings, Judge
                                                        United States Bankruptcy Court



Copy served electronically December 8, 2023, to Attorney Maurice VerStandig for service on all creditors.
